                                         Case 3:11-cr-00625-EMC Document 298 Filed 04/28/14 Page 1 of 6
                        (CAN Rev. 11/21/1
   AO 245B (Rev. 09/11) Amended Judgment in Criminal Case
                       Sheet 1


                                                          UNITED STATES DISTRICT COURT
                                                                  Northern District of California
                       UNITED STATES OF AMERICA                                     ) AMENDED JUDGMENT IN A CRIMINAL CASE
                                  v.                                                )
                             BASSAM YACOUB SALMAN                                   )     USDC Case Number: 0971 3:11CR00625-001 EMC
                                                                                    )     BOP Case Number: DCAN0971311CR00625-001
                                A/K/A BASSAM JACOB SALMAN                           )     USM Number:           43858-424
                                                                                    )     Defendant’s Attorney:
                                                                                           Gail R. Shifman (Retained) and Shaffy Moeel (Retained)


   Date of Original Judgment: 4/9/2014
   (or Date of Last Amended Judgment)
   Reason for Amendment:
         Correction of Sentence on Remand (18 U.S.C. 3742(f)(1) and (2))                  Modification of Supervision Conditions (18 U.S.C. §§ 3563(c) or 3583(e))
         Reduction of Sentence for Changed Circumstances (Fed. R. Crim. P. 35(b))         Modification of Imposed Term of Imprisonment for Extraordinary and
                                                                                          Compelling Reasons (18 U.S.C. § 3582(c)(1))
         Correction of Sentence by Sentencing Court (Fed. R. Crim. P. 35(a))              Modification of Imposed Term of Imprisonment for Retroactive
                                                                                          Amendment(s) to the Sentencing Guidelines (18 U.S.C. § 3582(c)(2))
         Correction of Sentence for Clerical Mistake (Fed. R. Crim. P. 36)                Direct Motion to District Court Pursuant
                                                                                             28 U.S.C. § 2255 or       G18 U.S.C. § 3559(c)(7)
   ✔ Other: Modification of Forfeiture Order                                              Modification of Restitution Order (18 U.S.C. § 3664)


   THE DEFENDANT:
              pleaded guilty to count(s): _________________________________________________________________________________
        pleased nolo contendere to count(s): _______________________________________________which was accepted by the court.
   ✔ was found guilty on count(s): ___________________________________________________________after
                                        1 through 5                                                 a plea of not guilty.
   The defendant is adjudicated guilty of these offenses:
   Title & Section                Nature of Offense                                    Offense Ended            Count
18 U.S.C. § 371                                         Conspiracy                                                         2007                            1
15 U.S.C. §§ 78j(b) and 78ff, 17 C.F.R. §§ 240.10b-5,   Securities Fraud                                                   03/23/2007                      2, 3, 4, & 5
240.10b5-1 and 240.10b5-2, 18 U.S.C. § 2

            The defendant is sentenced as provided in pages 2 through __________
                                                                          6      of this judgment. The sentence is imposed pursuant
   to the Sentencing Reform Act of 1984.

            The defendant has been found not guilty on count(s): _________________________________________________________

            Count(s) _________________________________                  is     are dismissed on the motion of the United States.
        It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposedSD     STjudgment
                                                                                                     byIthis RIC are fully paid. If ordered
to pay restitution, the defendant must notify the court and United States attorney of materialTEchanges in economic
                                                                                                                  T C circumstances.
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                                                                                        4/23/2014
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                                                                                        Date of Imposition of Judgment
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                                                                                        Signature of Judge
                                                                                        The Honorable Edward M. Chen
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                                                                                        United States District Judge
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                                                                                        Name & Title ofJJudge
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          (CAN Rev. 11/21/1
                              Case 3:11-cr-00625-EMC Document 298 Filed 04/28/14 Page 2 of 6
AO 245B (Rev. 09/11) Amended Judgment in Criminal Case


  DEFENDANT: BASSAM YACOUB SALMAN                                                                Judgment - Page ________
                                                                                                                    2     of ________
                                                                                                                                  6
  CASE NUMBER: 0971 3:11CR00625-001 EMC

                                                               IMPRISONMENT
  The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of:
     thirty six (36) months, this consists of terms of 36 months on each of Counts 1 through 5, all counts to be
     served concurrently

   ✔       The Court makes the following recommendations to the Bureau of Prisons:
            To be designated to the BOP camp facility at Oxford in Wisconsin




           The defendant is remanded to the custody of the United States Marshal. The appearance bond is hereby exonerated.

           The defendant shall surrender to the United States Marshal for this district:

                         at _________      am       pm on __________________ (no later than 2:00 pm).

                         as notified by the United States Marshal.

           The appearance bond shall be deemed exonerated upon the surrender of the defendant.

   ✔       The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

            ✔            at 12:00
                            _________      am ✔ pm on __________________
                                                       7/7/2014          (no later than 2:00 pm).

                         as notified by the United States Marshal.

                         as notified by the Probation or Pretrial Services Office.

           The appearance bond shall be deemed exonerated upon the surrender of the defendant.

                                                                     RETURN
  I have executed this judgment as follows:




           Defendant delivered on ______________________________ to _______________________________________ at
           ___________________________________ , with a certified copy of this judgment.




                                                                                           UNITED STATES MARSHAL

                                                                       By
                                                                                     DEPUTY UNITED STATES MARSHAL
                        Case 3:11-cr-00625-EMC Document 298 Filed 04/28/14 Page 3 of 6
           (CAN Rev. 11/21/1
AO 245B (Rev. 09/11) Amended Judgment in Criminal Case
       Sheet 3 -- Supervised Release
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                                  EMC

                                                   SUPERVISED RELEASE
8SRQUHOHDVHIURPLPSULVRQPHQWWKHGHIHQGDQWVKDOOEHRQVXSHUYLVHGUHOHDVHIRUDWHUPRI
three (3) years, this consists of a term of 3 years on each of Counts 1 through 5, all such terms to run concurrently

          
 The defendant   must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
 The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.
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✔       7KHGHIHQGDQWVKDOOQRWSRVVHVVDILUHDUPDPPXQLWLRQGHVWUXFWLYHGHYLFHRUDQ\RWKHUGDQJHURXVZHDSRQ
          &KHFNLIDSSOLFDEOH 
✔       7KHGHIHQGDQWVKDOOFRRSHUDWHLQWKHFROOHFWLRQRI'1$DVGLUHFWHGE\WKHSUREDWLRQRIILFHU &KHFNLIDSSOLFDEOH 
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                       Case 3:11-cr-00625-EMC Document 298 Filed 04/28/14 Page 4 of 6
AO 245B (Rev.
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  1. The defendant shall not maintain a position of fiduciary capacity without the prior permission of the probation officer.

  2. The defendant shall pay any restitution and special assessment that is imposed by this judgment and that remains
  unpaid at the commencement of the term of supervised release.

  3. The defendant shall not open any new lines of credit and/or incur new debt without the prior permission of the probation
  officer.

  4. The defendant shall provide the probation officer with access to any financial information, including tax returns, and shall
  authorize the probation officer to conduct credit checks and obtain copies of income tax returns.

  5. The defendant shall participate in a mental health treatment program, as directed by the probation officer. The
  defendant is to pay part or all cost of this treatment, at an amount not to exceed the cost of treatment, as deemed
  appropriate by the probation officer. Payments shall never exceed the total cost of mental health counseling. The actual
  co-payment schedule shall be determined by the probation officer

  6. The defendant shall perform 250 hours of community service as directed by the probation officer.

  7. The defendant shall cooperate in the collection of DNA as directed by the probation officer.

  8. The defendant shall not own or possess any firearms, ammunition, destructive devices, or other dangerous weapons.

  9. The defendant shall submit his person, residence, office, vehicle, or any property under his control to a search. Such a
  search shall be conducted by a United States Probation Officer at a reasonable time and in a reasonable manner, based
  upon reasonable suspicion of contraband or evidence of a violation of a condition of release. Failure to submit to such a
  search may be grounds for revocation; the defendant shall warn any residents that the premises may be subject to
  searches.
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                       Amended Judgment in Criminal Case
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 Citadel Derivitives Group LLC RMM, 131 South Dearborn, 32nd Floor, Chicago, IL 60603            $738,539.42             $738,539.42




727$/6                                                                                           $738,539.42             $738,539.42


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        G WKHLQWHUHVWUHTXLUHPHQWLVZDLYHGIRUWKH                         G ILQH       G UHVWLWXWLRQ
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                               Case 3:11-cr-00625-EMC Document 298 Filed 04/28/14 Page 6 of 6
                 (CAN Rev. 11/21/1
AO 245B (Rev. 09/11) Amended Judgment in Criminal Case
        Sheet 6 -- Schedule of Payments
'()(1'$17 BASSAM YACOUB SALMAN                                                                                               -XGJPHQW3DJHBBBBBBBBRIBBBBBBBB
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                                                                  SCHEDULE OF PAYMENTS

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                HJPRQWKVRU\HDUV WRFRPPHQFHBBBBBBBBBB HJRUGD\V DIWHUWKHGDWHRIWKLVMXGJPHQWRU

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              When incarcerated, payment of restitution is due during imprisonment at the rate of not less than $25 per quarter and
               
              payment shall be through the Bureau of Prisons Inmate Financial Responsibility Program. Restitution payments shall
               
              be made to the Clerk of U.S. District Court, Attention: Financial Unit, 450 Golden Gate Ave., Box 36060, San
               
              Francisco, CA 94102, and shall be paid at the rate of not less than $500 per month, to commence within 60 days of
               
              release on supervised release.
               

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Case Number
Defendant and Co-Defendant Names                                                                Joint and Several                        Corresponding Payee,
(including defendant number)                                          Total Amount                  Amount                                  if appropriate
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              7KHGHIHQGDQWVKDOOSD\WKHFRVWRISURVHFXWLRQ
              7KHGHIHQGDQWVKDOOSD\WKHIROORZLQJFRXUWFRVW V BBBBBBBBBB
✔             7KHGHIHQGDQWVKDOOIRUIHLWWKHGHIHQGDQW¶VLQWHUHVWLQWKHIROORZLQJSURSHUW\WRWKH8QLWHG6WDWHV
               $446,829.49

              7KH&RXUWJLYHVQRWLFHWKDWWKLVFDVHLQYROYHVRWKHUGHIHQGDQWVZKRPD\EHKHOGMRLQWO\DQGVHYHUDOO\OLDEOHIRUSD\PHQWRI
               DOORUSDUWRIWKHUHVWLWXWLRQRUGHUHGKHUHLQDQGPD\RUGHUVXFKSD\PHQWLQWKHIXWXUHbut such future orders do not affect
               the defendant’s responsibility for the full amount of the restitution ordered.
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    3D\PHQWVVKDOOEHDSSOLHGLQWKHIROORZLQJRUGHU  DVVHVVPHQW  UHVWLWXWLRQSULQFLSDO  UHVWLWXWLRQLQWHUHVW  ILQHSULQFLSDO
     ILQHLQWHUHVW  IRUIHLWXUH  FRPPXQLW\UHVWLWXWLRQ  SHQDOWLHVDQG  FRVWVLQFOXGLQJFRVWRISURVHFXWLRQDQGFRXUWFRVWV
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